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                       IN THE UNITED STATES DISTRICT COURT

                        DISTRICT OF UTAH, CENTRAL DIVISION


UNITED STATES OF AMERICA,

                      Plaintiff,                       MEMORANDUM DECISION AND
                                                      ORDER REGARDING CONDITIONS
vs.                                                           OF RELEASE

SYLVESTER ZUGRAV, ET AL.,                                    Case No. 2:11CR879DAK

                      Defendant.                               Judge Dale A. Kimball



       This matter is before the court on Defendant Sylvester Zugrav’s Motion to Amend

Magistrate Judge Alba’s March 19, 2012 order continuing Defendant’s pre-trial GPS monitoring

as a condition of release. The court held a hearing on the motion on April 25, 2012. At the

hearing, Defendant was represented by John L. Brownlee and William Gould, and the United

States was represented by Edward Sullivan. The court heard argument and took the motion under

advisement.

               Defendant’s conditions of release were initially set by Judge Sam in Case No.

2:11CR731DS. In that case, Defendant agreed to abide by any conditions of release necessary to

avoid detention pending trial. In two previous orders in this case, Magistrate Judge Alba has

continued Defendant’s conditions of release imposed by Judge Sam in the prior case. In this

Motion to Amend, Defendant seeks to amend the conditions of release to discontinue the required

GPS monitoring.

       A defendant is entitled to file a motion to amend a magistrate judge’s conditions of release
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order under 18 U.S.C. § 3145(a)(2) with the assigned district judge. Under 18 U.S.C. §3142(g),

the court considers factors to determine “whether there are conditions of release that will

reasonably assure the appearance of the person as required and the safety of any other person and

the community.” These factors include the nature and circumstances of the offense, the weight of

the evidence, the history and circumstances of the defendant, and the nature and seriousness of the

danger to any person or the community that would be posed by the defendant’s release.

       Defendant disputes the weight of the evidence against him, argues that no other defendant

in this case is required to wear a GPS device, and claims that the GPS monitoring device on his leg

is causing him problems with exercising. Defendant’s arguments regarding the weight of the

evidence are merely self-serving argument at this stage of the case. Claiming that a co-defendant

is a liar does not demonstrate that the government has a weak case against Defendant. The

government claims to have documents seized from Defendant’s home to support its case. The

court also finds Defendant’s arguments that the device should be removed because he has not had

any violations unpersuasive. If Defendant had any such problems, he would be ordered to be

detained. The fact that the GPS has been effective as a condition of release is not an argument for

removing it. Defendant also argues that since his wife’s GPS monitoring device has been

removed, she has been fully compliant. However, the court does not believe her compliance

demonstrates that the couple would be compliant if neither of them had a GPS device. The court

sympathizes with Defendant’s health problems, but believes that there are measures he can take to

relieve the problems associated with the device on his leg. Although Defendant downplays his

foreign ties, they are extensive and are the court’s main concern. Defendant has the resources and

international ties that would allow him to leave the country. Accordingly, the court denies


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Defendant’s motion to amend his conditions of release.

       DATED this 30th day of April, 2012.

                                             BY THE COURT



                                             DALE A. KIMBALL
                                             United States District Judge




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